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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO

 JENNIFER L. MILLER, et al.,                    )
                                                )
                        Plaintiffs,             )
                                                )
        v.                                      )
                                                )
 MICHAEL J. ANDERSON, et al.,                   )      Judge John R. Adams
                                                )
                        Defendants,             )      Case No. 5:20-cv-01743-JRA
                                                )
        and                                     )
                                                )
 FIRSTENERGY CORP.,                             )
                                                )
                        Nominal Defendant.      )

                       RESPONSE TO ORDER OF MARCH 22, 2022

       Plaintiff Jennifer L. Miller (“Miller”) and Intervenor-Plaintiffs Employees’ Retirement

System of the City of St. Louis (“St. Louis”), Electrical Workers Pension Fund, Local 103,

I.B.E.W.     (“Local   103”),    and   Massachusetts     Laborers    Pension    Fund     (“MLPF”)

(collectively, “Plaintiffs”) hereby submit the Affidavit attached as Exhibit 1 hereto in response to

the Court’s Order of March 22, 2022 (ECF No. 290).



Dated: March 23, 2022                                Respectfully submitted,


                                                     /s/ John C. Camillus
                                                     John C. Camillus

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                                       Action

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2022, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all attorneys

on record.


                                                    /s/ John C. Camillus
                                                      John C. Camillus




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